Case 1:17-cv-00658-LEK-D.]S Document 46 Filed 04/10/18 Page 1 of 17

 

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APR 1 o 2013
LAWRENCE K. sAEsMAN, cLEsK
ALBANY
MARCO A. BITETTO ,
Plaintiff, Defendant. CivilAction No.
vs. GINNI ROMITTY, i: 17_cv-00658-LEK-DJS

Defendant

 

MOTION TO EXPEDITE THE CASE

I have included three cases dealing With copyrighted patentable inventions. These cases are very
similar to my own and also demonstrate that copyrightable patentable inventions can also be
defended as patents themselves. AII of the cases came from the “Law Repol'ts of Patent Cases

Vol. 1” by William Carpmael.

l am also including the fact that the defendant’s legal representatives have done their best to
attempt to dismiss and prolong this case as possible. Therefore, it is not unprecedented that this

case should be expedited without any further motions to either dismiss or prolong this case.

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Dr. I\/|arco A.\/. Bitetto

Pro Se

Date: 12 January 2018

Case 1:17-cv-00658-LEK-D.]S Document 46 Filed 04/10/18 Page 2 of 17

BRUNTON vs HAWKES AND OTHERS

The case Was over copyrighted patentable items relating to ships. The ruling was
in favor of Bruton. In that the court ruled that copyrighted patentable items were
equivalent to patentable items.

CAMPION vs BENYON AND OTHER

This case deals With a copyrightable patentable invention. The invention is an
automated way to make sales for ships using help and iiax. In this case the court
ruled in favor of Benyon and Others and also stated that copyrightable patents are
equivalent to patents.

HALL vs JAVIS BOOT AND FRANCIS BOOT

The case dealt With the copyrightable patentable invention of an improved
automated Way to make lace. The court ruled in favor of Hall. lt further stated that
copyrightable patentable inventions are equivalent to patents themselves

Case 1:17-cv-OO658-LEK-D.]S Document 46 Filed O4/10/18 Page 3 of 17

UNITEI) STATES DISTRICT COURT

NORTHERN DISTRICT OF NEW YORK

 

MARCO A. BITETTQ,

 

Plaintiff, Defendant. Civil Action No.
vs. GINNI ROMITTY, l: 17~cvr00658~LEK-DJS

Defendant

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jr /MWMA V Bé£@zi%

Dr. l\/|arco A.V. Bitetto

Pro Se

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Case 1:17-cv-OO658-LEK-D.]S Document 46 Filed O4/10/18 Page 4 of 17

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Case 1:17-cv-OO658-LEK-D.]S Document 46 Filed O4/10/18 Page 5 of 17

19 March 20_18

Dear Sir;

|’m writing this affidavit on behalf of Dr. Marco Bitetto, who was a
doctoral student and | was on his doctoral committee. As such, l am
most knowledgeable about the science and technology involved in his
patent infringement case with IBM.

|’m also familiar with the |BM TruNorth technology to a degree that l
can truly say that lB|V| has actually stolen Dr. Bitetto’s patented
technology.

As such, | truly encourage Dr. Bitetto to persue this patent
infringement law suit.

j Htéaja@<

Dr. Hu|an Jack Jr.l

Case 1:17-cv-OO658-LEK-D.]S Document 46 Filed O4/10/18 Page 6 of 17

March 20, 2018

Dear Sir;

l’m writing this letter of support for Dr. Bitetto. As a semiconductor
fabrication engineer l have worked with a multitude of semiconductor
designs that were converted from ideas to hardware. Having read his
doctoral dissertation and also knowing about the lBM TruNorth
technology.

As such, l can truthfully say that the two technologies are essentially
the same and since the NERVOTRON technology predates the
TruNorth lBM technology. Furthermore, Dr. Bitet_to is the inventor of
the NERVOTRON technology in and of itself and therefore |B|Vl stole
his patented technology and used it to the extreme. They even
licensed its unlimited use to SAMSUNG corporation.

As such, l am fully behind Dr. Bitetto on this patent infringement law
suit.

galvech lee

Mr. Edward Lee

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Malce a creative leap.

Apps for design, video, and web.
Plans start at US$Q.QQfmo. join now .'» Craatlve 1

 

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inspired chip to recognize
gestures

By A|ex Broi<aw ] Aug 12_, 2016. 4:33pm EDT

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Human brains and machine brains are different l-iuman brains are really good at
critical analysis l\/lachine brains are really good at working with lots of data.
Human brains are power efficientl iviachine brains need 100 million times more
power than human brains to'perform similar cognitive tasks.

That‘s why researchers and companies have been interested in chips with
structures that mimic the human brain, also known as "neuromorphic computing."
lBM's Truei\lorth is one of those chips. lt has 4,096 computer cores that support
about a million digital brain Ceiis and 256 million connectionsl information travels
over those connections like it does across human synapses.

On Thursday, Eric Fiyu, a vice president of research at the Samsung Advanced
institute of Technoiogy, showed otf how Truei\iorth could help a computer be
better at recognizing hand gestures while using one-tenth of the power used by
typical phones Samsung isn't the first to use the chip, although the company
does manufacture it. The i_awerence i_ivermore i\iationai i_ab has been using it
for cyber security research The US Air Force has been using it to detect unusual

 

events in videos and to build seza.rter autonomous drones.

 

Samsung has built Truei\lorth into its Dynamic \/ision Sensor, which uses the Chip
to recognize images at 2,000 frames per second That kind of speed is really
good for generating 3D maps, driving autonomousiy, and controlling computers
with gestures.

Venture Beat shot a quick video of Ryu on stage at iBi\/i's research laboratory in

 

nirnadr-zn, Ca|ifornia, demonstrating how these hand gestures Couid be used to
control a T\/.

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Samsung demos |BlVi's brain chip in a gesture recognition app

 

 

 

 

"|t recognized hand waves, finger waves, closed fists and finger pinches from
about iO feet away," wrote Ci“\/E~T.

Seems like machine iearning-optimized hardware is here to stayl i_et‘s just hope
the tech industry stops thinking we want to use it to make ridiculous hand
gestures

- SOUFlCE: CNET

3 of§ 2f20)'18,2:59 PM

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AD

THE LATEST

Snapchat now has Giphy integration and will
introduce a Tabs function for Stories
By they On-g l 9 comments

Google begins replacing Android Pay and Google
Wallet with new app

EiyChairnC-}arl_enberg § 81 comments

Spotify’s latest job listings show it’s ramping up
efforts to produce hardware
By they Ong l 13 comments

 

4 of 5 2120)'18, 2:59 PM

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The iPhone, the Pixel, and the tragic anxiety of having
to choose
By \riad Savov l 222 comments

 

Sony takes on ride-haiiing in Japan as Uber looks for
partners
By i`huy Ong

Samsung unveils wor|d’s largest SSD with whopping
` 30TB of storage

Eiy James \rinceni | 47 comments

 

AD

5 Of 5 2i'20il S, 2:59 Pi\fl

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The .iS 44 civil cover sheet and the information contained herein _n<_:ithcr replace nor_ sup lenient lite filin and service ol` pleadings o_r other papers _ns required ny la\v, except ns
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1. tai PLAINTIFFS DEFENDANTS

 

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Dr. |v‘iarco A.V. Eiitetto {Pro Se} 4 Fourih Avenue Fiensse|aer, NY12144
(518}703-9171

 

 

 

 

 

 

  

 

 

   

 

 

 

 

 

       

 
 
 

 

 

    

 

    
 

 

 

 

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[JATE SlGNA`l'Ul".l.", C)F ATTORNEY OF li!::L`ORD
3423;20"3 Dr. iviarco A.V_ Bitetto (Pro Se)

 

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Case 1:17-cv-OO658-LEK-D.]S Document 46 Fiied O4/10/18 Page 13 of 17

AO 240A (Rev. 0 lr‘09) Ordcr to Procccd Without Prepaying Fees or Costs

 

UNITED STATES DISTRICT COURT

for me
Nol'thern District ofNew Yol'k

 

 

 

 

Dr. iviarco A.V. Bitetto

 

Plai`nr{',lji'

v. Civil Action No.
Ms. Fiomitty

 

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Defendanr
ORDER TO PROCEED WITHOUT PREPAYING FEES OR COSTS

IT IS ORDERED: The plaintiff’s application under 28 U.S.C. § 1915 to proceed without prepaying fees or
costs is:

ij Granted:

The clerk is ordered to file the complaint and issue a summons The United States marshal is ordered to serve
the summons with a copy ofthe complaint and this order on the dcfendant(s). The United States will advance
the costs of service. Prisoner plaintiffs arc responsible for full payment of the filing fee.

[l Granted Conditionally:
The clerk is ordered to file the complaint Upon receipt of the completed summons and USM-285 form for each
defendant, the clerk will issue a summons lf`the completed summons and USM-285 forms are not submitted as
directed, the complaint may be dismissed The United States marshal is ordered to serve the completed summons
with a copy of the complaint and this order on the defendant(s). The United States will advance the costs of
service. Prisoner plaintiffs are responsible for full payment of the filing fce.

g Denied:

This application is denied for these reasons:

Date:

 

Judge is signature

 

Pri`rired name and title

Case 1:17-cv-00658-LEK-D.]S Document 46 Filed 04/10/18 Page 14 of 17

AO 440 (Rev. 06!12) Summons in a Civi| Action

 

UNITED STATES DISTRICT COURT

 

 

for the

Dr. iv|arco A.V. Bitetto )

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Pl'ar'm:_',@?’s) - )
v. ` ) Civil Action No.

MS. Fiomittv §

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Dej?mdam(sl) )

SUMMONS IN A CIVIL ACTION

TOZ (Defendant’s name and address)

A lawsuit has been filed against you.

Within 21 days after service ofthis summons on you (not counting the day you received it) _ cr 60 days if you
are the United States or a United States agency, or an officer or employee cf the United States described in Fed. R. Civ.
P. 12 (a)(Z) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date. 31"2.31'2013

 

 

Sigmxture ofCt'er)l: or Depa!y Cl.'erk

Case 1:17-cv-OO658-LEK-D.]S Document 46 Filed O4/10/18 Page 15 of 17

.»'\O 440 (Rev. 06)"12) Summons in aCivil Action (Page 2]

Civil Action No.

was received by me on (dare) 2f20i20`| 8

Date:

PROOF OF SERVICE
(Th is section should not be_fiien' with the court unless required by Fed. R. Civ. P. 4 (D)

ThiS SUmmOnS for (nnme of individual and riiie, :fany) MS- Homltty

 

 

2f1 personally served the summons on the individual at (place,l WOFl<

 

On (Q_’g;g) 2f201"2[)`l 8 3 or

 

CI I left the summons at the individual’s residence cr usual place of abode with (name)

, a person of Suitable age and discretion who resides there,

 

on (dare) , and mailed a copy to the individual’s last known address; or

|:I I served the summons on (name oftndr'w'duai) , who is

 

designated by law to accept service of process on behalf of (name ofcrganizarron)

 

 

 

on (a’are,l ; or
_ El I returned the summons unexecuted because ; or
l:l thC[ (specijj)):
My fees are $ for travel and $ for services, for a total of$ 0_[)0

l declare under penalty of perjuly that this information is true.

` 2r201201 s

 

Sei'ver ’s signature

Dr. Marco A.V. Bitetto

Prinieci name and tide

 

4 Fourlh Avcnuc Rense]|aer, NY |2]44

 

Ser‘ver 's address

Additional information regarding attempted service, etc:

 

  

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ease 1:17-cv-00653-LEK-DJS Document46 Filed 04/10/18 Page 17 of 17 '

 

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